     Case 4:24-cv-00906 Document 3 Filed on 03/13/24 in TXSD Page 1 of 4
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                      UNITED STATES DISTRICT COURT                                March 13, 2024
                       SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                           HOUSTON DIVISION


                       CIVIL ACTION NO. 4:24−cv−00906
           First Service Credit Union v. Cumis Insurance Society, Inc.

                       ORDER FOR CONFERENCE AND
                    DISCLOSURE OF INTERESTED PARTIES

1.   Counsel and all parties appearing pro se shall appear for an initial pretrial and
     scheduling conference before

                            JUDGE ALFRED H. BENNETT
                            on June 21, 2024 at 09:30 AM
                             at United States Courthouse
                              Courtroom 9A, 9th Floor
                                  515 Rusk Avenue
                                Houston, Texas 77002

2.   Counsel shall file with the clerk within fifteen days from receipt of this order a
     certificate listing all persons, associations of persons, firms, partnerships,
     corporations, affiliates, parent corporations, or other entities that are financially
     interested in the outcome of this litigation. If a group can be specified by a
     general description, individual listing is not necessary. Underline the name of
     each corporation whose securities are publicly traded. If new parties are added or
     if additional persons or entities that are financially interested in the outcome of
     the litigation are identified at any time during the pendency of this litigation, then
     each counsel shall promptly file an amended certificate with the clerk.

3.   After the parties confer (in person or by telephone) as required by FED. R. CIV. P.
     26(f), counsel and all parties appearing pro se shall prepare and file not less than
     10 days before the conference a joint discovery/case management plan
     containing the information as required by FED. R. CIV. P. 26(f) using the form
     available at http://www.txs.uscourts.gov/sites/txs/files/ahb_jdcmp.pdf.

4.   Counsel will complete the attached proposed scheduling order and file it with the
     joint discovery/case management plan. The court will sign the agreed scheduling
     order and may rule on any pending motions at the conference.

5.   Counsel and all parties appearing pro se who file or remove an action must serve
     a copy of this order with the summons and complaint or with the notice of
     removal.

6.   Attendance by an attorney who has authority to bind each represented party is
     required at the conference.
      Case 4:24-cv-00906 Document 3 Filed on 03/13/24 in TXSD Page 2 of 4

7.    Counsel and all parties appearing pro se shall discuss whether alternative dispute
      resolution is appropriate and at the conference advise the court of the results of
      their discussions.

8.    FED. R. CIV. P. 4(m) requires defendant(s) to be served within 90 days after the
      filing of the complaint. The failure of plaintiff(s) to file proof of service within
      90 days after the filing of the complaint may result in dismissal of this action by
      the court on its own initiative.

9.    Counsel will deliver to chambers copies of all instruments filed under seal
      regardless of their length.

10.   Failure to comply with this order may result in sanctions, including dismissal of
      the action and assessment of fees and costs.

                                                                 By Order of the Court



Court Procedures: Information on the court's practices and procedures and how to
reach court personnel may be obtained at the Clerk's website at www.txs.uscourts.gov
or from the intake desk of the Clerk's office.
         Case 4:24-cv-00906 Document 3 Filed on 03/13/24 in TXSD Page 3 of 4

                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

First Service Credit Union                §
                                          §
versus                                    §          Civil Action 4:24−cv−00906
                                          §
Cumis Insurance Society, Inc.             §


                                    PROPOSED
                                SCHEDULING ORDER


1. _________________________      AMENDMENTS TO PLEADINGS AND
                                  ADDITION OF NEW PARTIES
                                  Party requesting joinder will furnish a copy of this
                                  scheduling order to new parties.

                                  EXPERTS
2a. _________________________     Plaintiff, or party with the burden of proof, will
                                  designate expert witnesses in writing, listing the
                                  qualifications of each expert, the opinions the expert
                                  will present, and the bases for the opinions as required
                                  under Federal Rule of Civil Procedure 26(A)(2).

2b. _________________________     Defendant, or party without the burden of proof, will
                                  designate expert witnesses in writing, listing the
                                  qualifications of each expert, the opinions the expert
                                  will present, and the bases for the opinions as required
                                  under Federal Rule of Civil Procedure 26(A)(2).

3. _________________________      DISCOVERY
                                  Counsel may, by agreement continue discovery beyond
                                  the deadline. No continuance will be granted because of
                                  information acquired in post−deadline discovery.

4. _________________________      MOTIONS DEADLINE
                                  Including any motion challenging an expert witness
                                  (only motions in limine on issues other than experts
                                  may be filed after this date). The motion deadline may
                                  not be changed by agreement.
        Case 4:24-cv-00906 Document 3 Filed on 03/13/24 in TXSD Page 4 of 4


                                      JOINT PRETRIAL ORDER
5a. To be determined by the Court.    THE DEFENDANT shall supply the Plaintiff with a
                                      final version of its pretrial order by this date. (Where
                                      available, Defendant should supply Plaintiff with an
                                      electronic copy.)

5b. To be determined by the Court.    THE PLAINTIFF is responsible for filing the pretrial
                                      order on this date. All Motions in Limine must also be
                                      filed by this date.

6. To be determined by the Court.     DOCKET CALL is set at 1:30 p.m. in Courtroom 9A.

7. To be determined by the Court.     TRIAL is set at 9:00 a.m. in Courtroom 9A.
                                      Case is subject to being called to trial on short notice
                                      during the two week period beginning on this date.


   The Clerk shall enter this Order and provide a copy to all parties.


   SIGNED on ________________________, at Houston, Texas.



                                                    ________________________________
                                                    Alfred H. Bennett
                                                    United States District Judge
